8:05-cr-00254-LSC-FG3       Doc # 100     Filed: 01/30/08     Page 1 of 1 - Page ID # 422




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )               CASE NO. 8:05CR254
                                            )
             Plaintiff,                     )
                                            )
             vs.                            )                   JUDGMENT
                                            )
MICHAEL HAMBRIGHT,                          )
                                            )
             Defendant.                     )

      In accordance with the accompanying Memorandum and Order,

      IT IS ORDERED:

      1.     The Court has completed the initial review of the Defendant’s motion to

vacate, set aside, or correct his sentence pursuant to 28 U.S.C. § 2255 (Filing No. 93);

      2.     Upon initial review, the Court summarily denies the Defendant's § 2255

motion as untimely, and therefore the motion (Filing No. 93) is summarily denied;

      3.     The Clerk is directed to mail a copy of this Judgment to the Defendant at his

last known address.

      DATED this 30th day of January, 2008.

                                                BY THE COURT:


                                                s/Laurie Smith Camp
                                                United States District Judge
